Confidential – Subject to Protective Order                                                                                   CITY-0139820



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Confidential – Subject to Protective Order                                                                 CITY-0139822




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Confidential – Subject to Protective Order                                           CITY-0139823


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Confidential – Subject to Protective Order                                                               CITY-0139825



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                                                                                       Daily Task List
                    WEDNESDAY
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                    Virtual Mtg w/Eric Daigle
                    Zoom
       10           Ball, Cathy




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      Ball, Cathy                                     1                                               5/10/2024 4:38 PM
             Case 2:23-cv-00071-TRM-JEM Document 221-9 Filed 06/15/24 Page 6 of 25 PageID #:
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Confidential – Subject to Protective Order                                          CITY-0139826




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Confidential – Subject to Protective Order                                               CITY-0139828




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         Case 2:23-cv-00071-TRM-JEM Document 221-9 Filed 06/15/24 Page 10 of 25 PageID #:
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Confidential – Subject to Protective Order                                                                                              CITY-0139830



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                    WEDNESDAY                                                                                         Daily Task List
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         4          Zoom Meeting w/Eric Daigle
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                    Greene, Beth

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      Ball, Cathy                                                             1                                                    5/10/2024 4:39 PM
          Case 2:23-cv-00071-TRM-JEM Document 221-9 Filed 06/15/24 Page 11 of 25 PageID #:
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Confidential – Subject to Protective Order                                           CITY-0139831




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Confidential – Subject to Protective Order                                          CITY-0139832




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Confidential – Subject to Protective Order                                            CITY-0139833



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Confidential – Subject to Protective Order                                          CITY-0139834




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Confidential – Subject to Protective Order                                          CITY-0139835




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         Case 2:23-cv-00071-TRM-JEM Document 221-9 Filed 06/15/24 Page 16 of 25 PageID #:
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Confidential – Subject to Protective Order                                                                                                  CITY-0139836



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                                                                                                                          Daily Task List
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       10           Hold for a meeting with Erik Daigle        Meeting; COJC Staff & Erik Daigle
                    City Manager's Conference Room             https://us02web.zoonnms/j/87506640993? p
                    Ball, Cathy                                Greene, Beth

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             Case 2:23-cv-00071-TRM-JEM Document 221-9 Filed 06/15/24 Page 17 of 25 PageID #:
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Confidential – Subject to Protective Order                                          CITY-0139837




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Confidential – Subject to Protective Order                                          CITY-0139838


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Confidential – Subject to Protective Order                                          CITY-0139839




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Confidential – Subject to Protective Order                                          CITY-0139841
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